                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC.1                        )
                                                          )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                   )
                                                          )
        Debtor.                                           )       CHAPTER 11
                                                          )

                     DEBTOR’S SECOND MOTION TO DETERMINE
                   ADEQUATE PROTECTION TO SECURED CREDITOR

        COMES NOW, CM Holding, Inc. (the “Debtor”), and shows unto this Honorable Court
the following:

                                              Background

        1.       On October 3, 2018, the Debtor commenced with this Court a voluntary case
under Chapter 11 of Title 11, United States Code.

        2.       This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             Relevant Facts

        3.       On March 4, 2019 this Court approved the Debtor’s first Motion to Determine
Adequate Protection to Creditor National Bank of Commerce, or its successors-in-interest (the
“Bank”). Pursuant to that Order, the Debtor made monthly payments of $4,500.00 to the Bank to
protect this creditor’s interest in the Debtor’s collateral property.

        4.       The Debtor now seeks continued authority to make the same adequate protection
payment amounts to the Bank.

        5.       No other creditors have a secured interest in the Debtor’s real property.




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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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        6.      The Debtor has employed a Court-approved real estate broker to sell its real
property secured by the Bank’s lien. The Debtor expects to file a Plan of Reorganization
proposing terms for liquidating its real property and to pay off its secured and unsecured
creditors in full.

                                         Relief Requested

        7.      The Debtor seeks a determination from this Court that three additional monthly
payments of $4,500.00 per month constitutes sufficient adequate protection to the Bank for its
secured interest in the Debtor’s collateral for the period between the filing of this Motion and
September 14, 2019.

        8.      The Bank’s claim will accrue interest at its contract rate, along with related
expenses contractually agreed to between the Debtor and NBC, during the pendency of this case.

        9.      If the Debtor has not confirmed a Plan of Reorganization by September 14, 2019,
it will seek continued authority with this Court.

        WHEREFORE, premises considered, the Debtor respectfully requests that this Court
enter an Order: determining that, pursuant to 11 U.S.C. § 361, monthly payments of $4,500.00 to
the Bank constitutes sufficient adequate protection to protect this creditor’s interest in the
Debtor’s collateral property for the period between the filing of this Motion and September 14,
2019; and granting such further relief as this Court deems just and proper.

        Respectfully submitted this the 23rd day of June, 2019.

                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys for the Debtor

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                                    CERTIFICATE OF SERVICE

       This is to certify that this the 23rd day of June, 2019, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and
Richard Blythe, Office of the Bankruptcy Administrator, by electronic service through the
Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
pre-paid.


                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV




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